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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 20-62369-CIV-RS

 GUSTAVO ARAUJO,

        Plaintiff,
 vs.

 MIDLAND CREDIT MANAGEMENT, INC.,

       Defendant.
 _______________________________________/

       NOTICE OF COURT PRACTICE ON NOTICE OF PENDING SETTLEMENT

        This matter is before the Court on the Notice of Pending Settlement [DE 5] filed by

 Plaintiff, Gustavo Araujo. It is

        ORDERED that:

        1)The parties shall file their Stipulation of Dismissal in accordance with Federal Rule of

 Civil Procedure 41 no later than January 4, 2021.

        2) All pending motions not otherwise ruled upon are DENIED AS MOOT.

        3) This case is CLOSED.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 1st day of December 2020.




 cc:    Counsel of Record
